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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
________________________________________________________________________

CAROL LEWIS,

                                Plaintiff,

        v.                                                    Case 1:15-cv-13530-NMG

ALEX AZAR,
Secretary of the U.S. Department of Health
and Social Services,

                        Defendant.
______________________________________________________________________________

            MS. LEWIS’ REPLY RE: MOTION FOR FEES AND COSTS
         LEAVE TO FILE GRANTED BY ORDER OF COURT JUNE 5, 2018
______________________________________________________________________________

        Ms. Lewis• motion for fees should be granted.

        Before turning to the Secretary’s substantive claims, Ms. Lewis notes that she is learning of

many of the defenses and what is actually disputed for the first time in the Opposition brief because

the Secretary refused to meet and confer in accordance with the Local Rules.1 For example, in the

Opposition brief, Ms. Lewis learns for the first time that:

        1) the Secretary contends that fees for the LCD action are not compensable and that the
               Secretary would prefer the fees related thereto be broken out (Opp. at 13-14);

        2) the Secretary contends that the fees themselves are “unreasonable” (Opp. at 12-14);

        3) the Secretary does not dispute a COLA adjustment (Opp. at 10);

        4) the Secretary does not contest that Ms. Lewis is eligible to receive an EAJA award; and

        5) the Secretary does not assert that there are “special circumstances” that make a fee award
                unjust.

1
 Because Ms. Lewis only learned of the real areas of disagreement in the Opposition paper, her
opening papers were not able to focus on them and this Reply is necessarily longer than it
otherwise would have been.
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These are all the kinds of things that should have been addressed in a meet and confer and,

apparently, it is undisputed that the Secretary refused to meet and confer in accordance with the

Local Rules, again.

        Substantively, the Secretary did not carry his burden of making a “strong showing” that his

position had “a reasonable basis both in law and fact.” See Pierce v. Underwood, 487 U.S. 552,

565 (1988). The Secretary’s claim that the court in Whitcomb v. Burwell, 2015 WL 5254518 (E.D.

Wisc.) (Duffin, J.) “agreed” that “the Secretary was substantially justified in his position” that a

CGM is not primarily and customarily used for a medical purpose (Opp. at 4) is flatly incorrect.

Inter alia, the Secretary did not meet his burden to explain away the “string of losses” he has

suffered before three district courts, in more than 55 negative ALJ decisions, and his own Civil

Remedies Division. Fundamentally, the Secretary’s position that a CGM is not “primarily and

customarily used for a medical purpose” was and is non-sensical. See Finigan v. Burwell, 189

F.Supp.3d 201, 207 n. 6 (“… head-scratching …”) (D. Mass 2016).

        With regard to the amount of fees, the Secretary’s general claim that the fees are

“unreasonable” is not well founded. All of the fees in this case were the result of the Secretary’s

unreasonable refusal to follow the laws enacted by Congress. Further, specific categories of fees

were the direct result of the Secretary’s baseless contention that this case was moot and the

resulting motion practice and delay as a result thereof.




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                                            DISCUSSION

I.      The Secretary Did Not Meet His Burden To Make a “Strong Showing”
        That His Position Was “Substantially Justified”

        A.      28 U.S.C. § 2412(d)(1)(A)) Fees

                1.       Whitcomb v. Burwell

        On page 4, the Secretary contends that the court in Whitcomb v. Burwell, 2015 WL 5254518

(Sept. 9, 2015) (E.D. Wisc.) (Duffin, J.) “agreed” that “the Secretary was substantially justified in

his position that the CGM’s did not qualify as DME[.]” Opp. at 4. That is simply not correct. In

the Burwell case, the Secretary treated a Local Coverage Article (LCA) as a Local Coverage

Determination (LCD). Based on the Article’s description of a CGM as “precautionary”, the

Secretary denied CGM coverage on the grounds that a CGM was not primarily and customarily

used for a medical purpose.         On review, the district court determined that reliance on the

Article/treatment of the Article as an LCD was erroneous and remanded the matter to the Secretary

to consider coverage under the proper legal standard.2 Whitcomb v. Burwell, 2015 WL 3397697

(May 26, 2015) (E.D. Wisc.) (Duffin, J.) at *3-4. On Ms. Whitcomb’s motion for fees under EAJA,

the court held that: “it was not unreasonable to argue the clear language in a related Article ought to

be used to fill in the gap and assist in the coverage determination.” 2015 WL 5254518 at *2. Thus,

rather than “agreeing” that the Secretary’s position with respect to “precautionary” was substantially

justified, the Burwell court merely held that reliance on the Article, though erroneous, was

substantially justified at that time.

        On remand, the Secretary again rejected Ms. Whitcomb’s claim for coverage on the grounds

that a CGM is not DME because it is not “primarily and customarily used for a medical purpose”

because it is “precautionary” (not relying on the Article this time). Ms. Whitcomb again sought

2
 That is, the Burwell case litigated the same issue as Ms. Lewis’ LCD challenge. In both cases, it
was determined that the Secretary’s reliance on/treatment of the Article as an LCD was improper.


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review in Whitcomb v. Hargan, 17-cv-14 (E.D. Wisc. Oct. 26, 2017) (Jones, J.). There, the Court

found that the Secretary’s position that a CGM is not “primarily and customarily used for a medical

purpose” was “arbitrary and capricious” and “unreasonable.” Id. at 13-15. Those findings compel a

conclusion that the Secretary’s position was not substantially justified because “substantial

justification” requires a reasonable factual basis, a reasonable legal basis, and a reasonable

connection between the two. See U.S. v. Hallmark Const. Co., 200 F.3d 1076, 1080 (7th Cir.

2000) (reasonable factual basis, reasonable basis in law, reasonable connection between the two).

Ms. Whitcomb’s motion for fees under EAJA is currently before the Wisconsin District Court.

       In addition, the Secretary cites to the Burwell case when contending: “Ab inito, prior

administrative law decisions are not precedential and should not be relied upon to determine

whether the Secretary’s position is substantially justified.” Opp. at 4-5. That position is wholly

without merit. First, the court in Burwell said no such thing. What the court in Burwell did say

was that it did not find that the two non-precedential decisions from ALJs that were before it

“suggest that the Secretary’s position was not substantially justified.” 2015 WL 5254518 at *3.

Of course, that is far different from the proposition offered by the Secretary.

       Second, as noted by the Supreme Court:

       Obviously, the fact that one other court agreed or disagreed with the Government
       does not establish whether its position was substantially justified. Conceivably,
       the Government could take a position that is not substantially justified, yet win;
       even more likely, it could take a position that is substantially justified yet lose.
       Nevertheless, a string of losses can be indicative; even more so a string of
       successes.




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Pierce, 487 U.S. at 566. Of course, the Supreme Court did not indicate that only “precedential”

decisions can form the “string of losses.” A loss, whether precedential or not, is one indicator

that the position is not substantially justified.3

        Third, in 2015 when the Burwell court rendered its decision on a somewhat different

question, it did so with only two ALJ decisions before it. Since that time, three district courts,

more than 40 ALJs, and the Secretary’s own Civil Remedies Division have weighed in against

the Secretary’s claim. Thus, rather than the “one other court” referred to in Pierce, more than 40

courts have now ruled against the Secretary. This is the definition of a “string of losses.”

                2.      Civil Remedies Division Decision

        The Secretary’s claim that citation to the ruling of his own Civil Remedies Division is

“misleading” (Opp. at 5) because the decision was later vacated is likewise without merit. The

Secretary contended that the Article should be treated as an LCD. Ms. Lewis contested that

claim but, accepting the Secretary’s assertion, challenged the Article and its exclusion of CGM’s

as “precautionary” using the LCD challenge procedure. The Civil Remedies Division agreed

with Ms. Lewis that exclusion of CGM’s as “precautionary” did not meet the “reasonableness

standard.” DAB No. CR4596, 2016 WL 2851236 at *14, *18. Thereafter, the Council vacated

the decision on the grounds that the Article was not an LCD (contrary to the Secretary’s previous

contention) and that, therefore, the LCD challenge procedure should not have been used. DAB

No. 2782, 2017 WL 1838026 at *12. Thus, Ms. Lewis’ description of the findings of the Civil

Remedies Division was proper and correct in every respect.




3
 ALJ decisions are supposed to be non-precedential to allow an ALJ flexibility to address the
needs/facts of an individual case without affecting other cases. Here, however, the ALJ
decisions are not based on case specific facts but instead address the Secretary’s blanket policy
excluding CGM coverage as “precautionary.”


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               3.     The Secretary’s Reply/Motion to Dismiss

       The Secretary contends: “It was not until after [the order dismissing this case] that

Plaintiff made clear in her Motion to Alter or Amend Judgment that she was seeking payment for

past claims, resulting in the Court’s reversal of the dismissal.” Opp. at 7. That statement is

belied by common sense, the Complaint, and the Secretary’s own opposition to Ms. Lewis•

Motion to Alter or Amend. Of course, it is elemental that judicial review of administrative

decisions must be based on the Record before the department, which is necessarily backward

looking. See 42 U.S.C. § 405(g) (“… upon the pleadings and transcript of the record …”).

Indeed, the amount-in-controversy requirement necessary for federal court jurisdiction

challenging the Secretary’s denials necessitates that the Complaint must seek relief going

backward. See 42 U.S.C. § 1395ff(b)(1)(E). Further, as relief, the Complaint itself sought, inter

alia: “An order that the Court will retain jurisdiction over the decisions at issue until the

Secretary’s payment of the claims at issue has been completed.” Complaint at 20 (emphasis

added). Even after Ms. Lewis moved to alter or amend the judgment, the Secretary continued to

oppose, even going so far as to file a sur-reply. See Dkt. #71. The Secretary should not be heard

to allege that he was confused about what was sought. Instead, the Secretary simply advanced a

baseless position and, having momentarily succeeded in misleading the Court, sought to defend

that baseless position. To its credit, this Court ultimately saw through that and the Secretary did

not meet his burden of showing that his position was substantially justified.

       Moreover, even if it were true that the Secretary was initially confused by the pleadings

and did not understand that Ms. Lewis was seeking payment for the denied claims, that is exactly

the kind of thing that could have been cleared up in a meet and confer either before the Secretary

filed his reply/Motion to Dismiss or before Ms. Lewis was forced to file a fully briefed - and

opposed - Motion to Alter or Amend. Thus, even crediting the Secretary’s alleged confusion, the


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Secretary’s failure and refusal to comply with his meet and confer requirements was, again,

without substantial justification and is further support for an EAJA award.

       As Ms. Lewis showed in her opening papers, no doctor, study, professional organization,

industry party/group or competent authority of any kind has ever opined that a CGM is not

primarily and customarily used for a medical purpose. Mot. at 11. In response, the Secretary

asserts that the Record includes evidence that a CGM should be used with finger sticks for

calibration/confirmation. Opp. at 6.       So what? The legal standard is whether a CGM is

“primarily and customarily used for a medical purpose” - not whether a CGM is or is not used

with other items.

       The Secretary did not carry his burden of making a “strong showing” that his initial

denial of Ms. Lewis’ claims or conduct in this litigation itself was substantially justified, and that

EAJA fees should not be awarded as a result. Nearly 60 negative decisions from reviewing

courts are the definition of the “string of losses” referred to by the Supreme Court. Finally, the

very idea that a CGM is not “primarily and customarily used for a medical purpose” is

indefensible.

       B.       28 U.S.C. § 2412(b) Fees

       As noted in Ms. Lewis’ opening papers, the Secretary’s denial of Ms. Lewis• CGM claims

and motion to dismiss lacked any legal or factual support. That is why three district courts, more

than 40 ALJs, and the Secretary’s own Civil Remedies Division have ruled against the Secretary.

No rational person could conclude that a CGM is not “primarily and customarily used for a medical

purpose.” With regard to “wanton”, “vexatious” conduct and conduct “delaying and disrupting the

litigation”, the Secretary did not respond. Putting aside the baselessness of the underlying position,

clearly, a baseless motion to dismiss that results in a six-month delay and increased expense on the

opposing party meets that definition.


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       The Secretary did not contest that his representative (Ms. Johnson) failed and refused to

comply with the Local Rules requiring meet and confers, even on this motion for fees. In any event,

with respect to the motion to alter or amend, contesting that fact would have been futile because the

email traffic is an exhibit to these papers. Mot. (Exhibit 6). Thus, the Secretary’s denial of

improper purpose of harassment and delay are unavailing. Opp. at 8-9.

       Faced with a clear statutory mandate to provide coverage for items that are “primarily and

customarily used for a medical purpose”, multiple district court decisions, numerous ALJ decisions,

and the decision of his own Civil Remedies Division, the Secretary forced Ms. Lewis to sue to

“vindicate plain legal rights.” Gray Panthers Project Fund v. Thompson, 304 F.Supp.2d 36, 39

(D.D.C. 2004). That is the definition of “bad faith” and fees should be awarded under Paragraph

(b).

II.    The Amount of Fees

       A.      Updated Fee Calculations

       Of course, fees for preparing an EAJA motion are also compensable. Commissioner of

INS v. Jean, 496 U.S. 154, 163-65 (1990). Updated fee calculations to reflect briefing on this

issue are listed below and a revised Exhibit 3 with the billing detail is attached:

       Fees Using Usual and Customary Rates:

           Firm               Hours             Fees              Expenses              Total
Burke & Associates              79.00           $27,650.00            $626.15           $28,276.15
(Laurie Bejoian)
Parrish Law Offices             409.62         $177,063.00             $1,761.60        $178,824.80
(Debra Parrish, James
Pistorino, Bridgette
Noonan)
Total                           488.62         $204,713.00             $2,387.75        $207,100.75




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       COLA Adjusted Fees

           Firm               Hours             Fees              Expenses              Total
Burke & Associates              79.00           $15,760.50            $626.15           $16,386.65
(Laurie Bejoian)
Parrish Law Offices             409.62          $82,948.00            $1,761.60          $84,709.60
(Debra Parrish, James
Pistorino, Bridgette
Noonan)
Total                           488.62          $98,708.50            $2,387.75         $101,096.25



       Parrish Fees Using Usual and Customary Rates/Local Counsel COLA Rates

           Firm               Hours             Fees              Expenses              Total
Burke & Associates              79.00           $15,760.50            $626.15           $16,386.65
(Laurie Bejoian)
Parrish Law Offices             409.62         $177,063.00            $1,761.60         $178,824.60
(Debra Parrish, James
Pistorino, Bridgette
Noonan)
Total                           488.62         $192,823.50            $2,387.75         $195,211.25



       B.      28 U.S.C. § 2412(d)(1)(A)) Fees

       It is difficult to follow the Secretary’s claims about why a fee enhancement should not be

applied to Paragraph (d) fees. Opp.at 12. On the one hand, the Secretary contends that the fees

should be reduced because the Parrish firm has specialized knowledge and background in CGM

cases and, therefore, (in the Secretary’s view) should have been more efficient. Opp. at 13. On the

other hand, the Secretary contends that no specialized knowledge or background was necessary.

Opp. at 12. Those are mutually exclusive positions.

       In any event, it appears to be undisputed that HHS’ ALJ decisions are not generally publicly

available and it is only because of the Parrish firm’s specialized knowledge that the evidence of the

numerous ALJ decisions was available. That is specialized knowledge of the Parrish firm generally,



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not individual lawyers associated with the firm. Fees should be awarded using the Parrish firm’s

usual and customary rates.

         Of course, Paragraph (b) fees are not subject to this analysis.

         C.      Fees Generally

         On page 12, the Secretary contends that the fees requested are “unreasonable” on the

grounds that: 1) the Parrish firm drew heavily on pleadings from other CGM cases; and 2) fees for

the “unrelated” LCD challenge are requested. Further, the Secretary contends that “Plaintiff is

requesting as much as seven times more than the amount she requested in the similar cases[.]” Opp.

at 12.

         As an initial matter, what fees have been requested in other cases is irrelevant to whether the

fees in this case are reasonable. Those cases may have been more difficult or easier legally and/or

factually and simply have no bearing on whether the fees requested in this case are reasonable.

         At a high level, putting aside the fees related to the motion to alter/amend (~$39,969) and

the LCD\LCA challenge ($50,902.98), the fees requested in this case are actually less than the fees

requested in the Bloom case. In Bloom, the total fees sought are ~$128,000. Bloom v. Azar, 5:16-

cv-121 (D. Vt.), Dkt. # 53. Here, subtracting the motion to alter/amend fees and the LCD fees, the

total fees sought are ~$113,000. That the Parrish firm was able to utilize research and materials

from other cases in this case is both a demonstration of the Parrish firm’s specialized knowledge

and one reason why the fees in this case were lower than they otherwise would have been.4



4
  The Secretary’s claims about other cases are confused. In Whitcomb v. Burwell, Ms. Whitcomb
handled matters pro se through and including the filing of the Complaint in federal court. At that
point, Ms. Whitcomb retained counsel to handle motion practice who ultimately sought
~$32,000 in fees. In Whitcomb v. Hargan, (the follow on to the remand of the Burwell case) the
requested fees are ~$61,000 for a combined total of $93,000. Thus, while those cases are not
directly comparable to this case, the fees are in the same range for the same work.


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        With regard to the successful motion to alter or amend, the ~$40,000 in related fees

represents more than 76 hours researching and drafting 24 pages of briefing and reviewing another

14 pages of opposition briefing. Those fees are reasonable, certainly less than would have been

incurred if an appeal were necessary, and resulted in the “extraordinary” relief of withdrawing the

prior judgment and granting Ms. Lewis• requested relief in its entirety. See Dkt. #77 at 3, 9. Those

fees were the direct result of the Secretary’s baseless motion to dismiss, failure and refusal to meet

and confer, and opposition to the motion to alter/amend.

        With regard to LCD fees, those fees are directly related to this action. As noted above, the

Secretary previously contended that the Article should be treated as an LCD and relied on that as a

ground for defense of his position. In order to foreclose the Secretary making that claim in this

case, starting in December 2014, Ms. Lewis litigated the LCD\LCA issue and was ultimately

victorious both in obtaining a decision that the “precautionary” defense did not meet the

“reasonableness standard” and getting the DAB to hold that the Article is not an LCD.5 That

eliminated those issues for this case.

        Indeed, the Secretary’s claim that the LCD matter and this matter are “unrelated” (Opp. at

12) is belied by the Secretary’s own motion to dismiss this case wherein the Secretary contended

that the LCD\LCA challenge process had to complete before this case could be filed. See Dkt. #13,

20. Though separate proceedings, the matters are related and the result in the LCD challenge is part

of the proceedings below that affected the litigation in district court.




5
  This is essentially the same issue litigated in the Whitcomb v. Burwell case. However, that
decision did not issue until May 2015. In any event, the Secretary has demonstrated a pattern of
simply ignoring district court decisions that it finds inconvenient. Thus, both from a timing and
direct applicability perspective, the issue needed to be litigated with respect to Ms. Lewis
specifically.


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          As to the fees for the LCD challenge, those fees total ~$50,000. Those fees represent more

than 134 hours, researching and drafting well over 50 pages of briefing corresponding to at least

eight filings at both the ALJ and appellate level, including the prehearing identification of expert

witnesses that were prepared for potential testimony, and the consistent effort of Ms. Lewis to notify

the ALJ of supplemental authority that issued during the pendency of the challenge. In addition, in

an unusual development, the ALJ allowed and ordered discovery of the Department, necessitating

the creation of interrogatories and a request for the production of documents - which discovery the

Department failed to comply with. The LCD fees were both reasonable and a compensable in this

matter.

          D.     Deterrence

          As Ms. Lewis noted in her opening papers, one purpose of an EAJA award is to

prospectively deter unreasonable government action. See Berman v. Schweiker, 713 F.2d 1290,

1298 (7th Cir. 1983). Prior to this Court’s decision, the rulings of two other district courts (one

finding the Secretary’s position “arbitrary and capricious”), 55 ALJ decisions, and the Secretary’s

own Civil Remedies Division had concluded that the Secretary’s position was not well founded.

None of that deterred the Secretary.

          Incredibly, even after all of this, with knowledge of the negative district court decisions, the

Secretary continues to issue decisions contending that a CGM is not “primarily and customarily

used for a medical purpose.” See In re: N.S., M-17-8596 (May 11, 2018) (Exhibit #7 at 2) and In

re: J.B., M-18-1749 (May 18, 2018) (Exhibit #8 at 10).

          Thus, this is the unique case where the Court knows that the sheer fact of negative decisions

(no matter how numerous) will not deter the Secretary. Accordingly, only an EAJA award has any

prospect of deterring the Secretary from continuing to advance this unreasonable position.




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III.   CONCLUSION

       An EAJA award is appropriate in this case.



Dated: June 5, 2018                                   Respectfully submitted,


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                                       Certificate of Service

       I certify that the foregoing will be filed through the electronic filing system of the Court,
which system will serve counsel for Defendant electronically, on this the 5th day of June 2018.



                                                      /s/ Laurie J. Bejoian
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